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                                                                  FILED: June 7, 2010


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                       No. 07-4059 (L)
                                     (8:04-cr-00235-RWT)
                                     ___________________


        UNITED STATES OF AMERICA

                                   Plaintiff - Appellee

        v.

        LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross

                                   Defendant - Appellant

                                     ___________________

                                          O R D E R
                                     ___________________

              The Court rescinds the briefing schedule in this case. The

        parties will be notified when a new briefing order is entered.



                                             For the Court--By Direction

                                             /s/ Patricia S. Connor, Clerk
